                       Case 1:21-cr-00045-DLF Document 1 Filed 01/11/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                    ANDREW WILLIAMS                                )      Case No.
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     01/06/2021                 in the county of                                     in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 1752                                Unlawful Entry of a Restricted Building
40 U.S.C. § 5104                                Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




         u Continued on the attached sheet.



                                                                                              Complainant’s signature

                                                                                     William Novak, Special Agent- FBI
                                                                                               Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone.
                                                                                                           Zia M. Faruqui
                                                                                                           2021.01.11 15:58:12 -05'00'
Date:             01/11/2021
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                    ZIA M. FARUQUI, United States Magistrate Judge
                                                                                               Printed name and title
